Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 1 of 77

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Lynne M, Policars, Clerk of State Gourt

Henry County, Georgia

CIVIL ACTION NUMBER STSV2021000749
Wilson, Lindon

 

 

PLAINTIFF
VS.
Horton Transportation LLC
Cherokee Insurance Company
Yother, Tyler
DEFENDANTS
SUMMONS

TO: HORTON TRANSPORTATION LLC

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

Adam Smith

Fried Goldberg LLC
3550 Lenox Road, N.E.
Suite 1500

Atlanta, Georgia 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

This 5th day of May, 2021.
Clerk of State Court

Lyre NM. Oca

@ Lynne M. Policaro, Clerk of State Court
Henry County, Georgia

EXHIBIT

Page 1 of 1

 
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 2 of 77

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Henry County, Georgia

CIVIL ACTION NUMBER STSV2021000749
Wilson, Lindon

 

 

PLAINTIFF
VS.
Horton Transportation LLC
Cherokee Insurance Company
Yother, Tyler
DEFENDANTS
SUMMONS

TO: CHEROKEE INSURANCE COMPANY

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

Adam Smith

Fried Goldberg LLC
3550 Lenox Road, N.E.
Suite 1500

Atlanta, Georgia 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by

default will be taken against you for the relief demanded in the complaint.

This 5th day of May, 2021.
Clerk of State Court

Sewn. MN Apdrnap

@/ Lynne M. Policaro, Clerk of State Court
Henry County, Georgia

Page 1 of 1
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 3 of 77

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Henry County, Georgia

CIVIL ACTION NUMBER STSV2021000749
Wilson, Lindon

 

 

PLAINTIFF
VS.
Horton Transportation LLC
Cherokee Insurance Company
Yother, Tyler
DEFENDANTS
SUMMONS

TO: YOTHER, TYLER

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

Adam Smith

Fried Goldberg LLC
3550 Lenox Road, N.E.
Suite 1500

Atlanta, Georgia 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by

default will be taken against you for the relief demanded in the complaint.

This 5th day of May, 2021.
Clerk of State Court

Lyprre MM. Obhica AD

¥/ Lynne M. Policaro, Clerk of State Court
Henry County, Georgia

Page 1 of 1
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 4 of 77

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CLERK OF STATE COURT
HENRY COUNTY, GEORGIA

STSV2021000749
IN THE STATE COURT OF HENRY COUNTY VAL
STATE OF GEORGIA MAY 05, 2021 12:55 PM
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LINDON WILSON, ae Poe ret Se
Plaintiff,
VS. CIVIL ACTION FILE

NO.:; STSV2021000749

HORTON TRANSPORTATION LLC,

CHEROKEE INSURANCE COMPANY,
and TYLER YOTHER, JURY TRIAL DEMANDED.

Defendants,

 

 

COMPLAINT

COMES NOW Lindon Wilson, “Plaintiff,” and makes and files this Complaint against
Defendants Horton Transportation LLC (“Horton”), Cherokee Insurance Company (“Cherokee”)
and Tyler Yother (“Yother”), respectfully showing as follows:

PARTIES AND JURISDICTION
1.

Plaintiff Lindon Wilson is a citizen and resident of the State of Georgia, and he is subject
to the jurisdiction of this Court.

2.

Defendant Horton is a Tennessee company that operates its vehicles in the State of
Georgia. Defendant Horton may be served through its registered agent, Daniel Joseph Turklay,
at 2120 Lebanon Pike, Apt. 42, Nashville, Tennessee 37210, and it is subject to the jurisdiction
of this Court,

3.

Defendant Cherokee is a foreign corporation existing under the laws of the State of

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 5 of 77

Michigan with a principal place of business located in Michigan. Defendant Cherokee may be
served by delivering a copy of the Summons and Complaint to its registered agent, Mark J.
Dadabbo, at 34200 Mound Road, Sterling Heights, Michigan 48310, and Defendant Cherokee is
subject to the jurisdiction of this Court.

4,

Defendant Yother is a citizen and resident of the State of Tennessee and may be served
with a copy of the Summons and Complaint at his home address of 314 Pike Street, Apt. 334,
Athens, Tennessee 37303.

5.

As Defendant Cowart was a nonresident motorist, Defendant Horton was a motor carrier,
Plaintiff is a resident of Henry County, Georgia, and the collision occurred in Henry County,
Georgia, jurisdiction and venue are proper in this Court pursuant to both O.C.G.A. § 40-12-3 and
O.C.G.A. § 40-1-117.

6.

Jurisdiction and venue are proper in this Court.

BACKGROUND
7.

This suit arises out of a motor vehicle collision that occurred on May 30, 2019 at
approximately 3:19 p.m. on I-75 in Henry County, Georgia (hereinafter referred to as the
“subject-collision”).

8.
At the time of the subject-collision, Plaintiff was the driver of a vehicle heading

northbound on I-75.

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9,

Defendant Yother was the driver of a vehicle traveling northbound on I-75 directly
behind Plaintiff's vehicle.

10.

Defendant Yother followed too closely in violation of O.C.G.A. § 40-6-49, failed to
exercise due care, and collided with the rear of Plaintiffs vehicle.

11.

The force of the collision pushed Plaintiff's vehicle forward and caused the front of

Plaintiffs vehicle to collide with the rear of another vehicle that was stopped in front of him.
12,

As result of the subject-collision, Plaintiff suffered severe and permanent injuries that
required extensive treatment.

COUNT I- NEGLIGENCE
13.

Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1
through 12 above as if fully restated.

14,

Defendant Yother owed a duty to exercise due care while operating his vehicle; to drive
his vehicle in a safe and reasonable manner; to maintain a proper lookout; to pay attention and
avoid driver distraction at all times.

15.
Defendant Yother breached those duties and, therefore, he was negligent in colliding with

the rear of Plaintiff's vehicle.

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16.

Defendant Yother’s negligence is the sole and proximate cause of the subject-collision,
and Plaintiff's resulting injuries.

COUNT II - IMPUTED LIABILITY
17.

Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1
through 16 above as if fully restated.

18.

At the time of the subject collision, Defendant Yother was under dispatch for Defendant
Horton.

19,

At the time of the subject collision, Defendant Yother was operating his vehicle on behalf
of Defendant Horton.

20.

Defendant Horton is an interstate motor carrier, and pursuant to federal and state laws, is
responsible for the actions of Defendant Yother in regard to the collision described in this
complaint under the doctrine of lease liability, agency, or apparent agency.

COUNT Ill — NEGLIGENT HIRING, TRAINING & SUPERVISION
21.
Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1

through 20 above as if fully restated.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 8 of 77

22.
Defendant Horton was negligent in hiring Defendant Yother and entrusting him to drive a
tractor-trailer.
23.
Defendant Horton was negligent in failing to properly train Defendant Yother.
24.
Defendant Horton was negligent in failing to properly supervise Defendant Yother.
25.

Defendant Horton’s negligence in hiring Defendant Yother and entrusting him with
driving a commercial vehicle and failing to train and supervise him properly was the sole and
proximate cause of the collision, and Plaintiff's resulting injuries.

COUNT IV —- DIRECT ACTION
26.

Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1
through 25 above as if fully restated.

27.

Defendant Cherokee is subject to a direct action as the insurer for Defendant Horton
pursuant to O.C.G.A. § 40-2-140.

28.

Defendant Cherokee was the insurer of Defendant Horton at the time of the subject
incident and issued a liability policy to comply with the filing requirements under Georgia law

for interstate transportation.

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29.
Defendants Horton and Cherokee are subject to the filing requirements outlined in
0.C.G.A. § 40-2-140.
30.
Defendant Cherokee is responsible for any judgment rendered against Defendant Horton.
COUNT V —- DAMAGES
31.
Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1
through 30 above as if fully restated.
32.
As a result of Defendants’ negligence, Plaintiff suffered severe and permanent injuries
that required extensive treatment.
33.
As a result of Defendants’ negligence, Plaintiff has incurred past medical expenses in the
amount of at least $125,508.60 and will continue to incur future medical expenses.
34.
As a result of Defendants’ negligence, Plaintiff has missed time from work and has a
claim for past and future lost wages.
35.

Defendants’ negligence is the sole and proximate cause of Plaintiff's injuries.

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COUNT VI- PUNITIVE DAMAGES
36.

Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1
through 35 above as if fully restated.

37.

Defendants’ conduct was reckless, willful and wanton, and demonstrates a conscious
indifference to the consequences of their actions and, therefore, entitles Plaintiff to an award of
punitive damages in this matter.

WHEREFORE, Plaintiff prays that he has a trial on all issues and judgment against
Defendants as follows:

(a) That Plaintiff recover the full value of his past and future medical expenses

and past and future lost wages in an amount to be proven at trial;

(b) =‘ That Plaintiff recover for physical and mental pain and suffering in an amount

to be determined by the enlightened conscience of a jury;

(c) That Plaintiff recover punitive damages in an amount to be determined by the

enlightened conscience of a jury; and

(d) —‘ That Plaintiff recover such other and further relief as is just and proper.

[signature on following page):

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 11 of 77

This 5th day of May, 2021,

Respectfully Submitted,

FRIED GOLDBERG LLC

By: ddam 2. Smith
MICHAEL L. GOLDBERG
Georgia Bar No. 299472
ERIC J.D. ROGERS
Georgia Bar No. 100081
ADAM P. SMITH
Georgia Bar No. 899334

Attorneys for Plaintiff

Three Alliance Center

3550 Lenox Road, Ste. 1500
Atlanta, Georgia 30326-4302
(404) 591-1800 (office)
(404) 591-1801 (fax)
michael(@friedgoldberg,.com

eric@friedgoldberg.com

adam(@friedgoldberg.com

 

MITCHELL E. MCGOUGH LAW LLC

By: MitchellE. McGougs
MITCHELL E. MCGOUGH
Georgia Bar No. 460942
*signed by APS w/ express permission

Attorney for Plaintiff
945 E Paces Ferry Road NE
Suite 2250
Atlanta, GA 30326
(404) 994-4357 (office)
(404) 600-1287 (fax)
mitchell@mitchellmcgoughlaw.com

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CLERK OF STATE COURT
HENRY COUNTY, GEORGIA

STSV2021000749
IN THE STATE COURT OF HENRY COUNTY VAL
LINDON WILSON, BEE ee eee Rey Canin aoare
Plaintiff;
VS. CIVIL ACTION FILE

NO.;: .STSV2021000749

HORTON TRANSPORTATION LLC,
CHEROKEE INSURANCE COMPANY,
and TYLER YOTHER,

Defendants.

 

 

PLAINTIFF’S FIRST REQUESTS FOR ADMISSION TO DEFENDANTS
TO: Defendants, by and through counsel of record.

Plaintiff, pursuant to O.C.G.A. § 9-11-36, submits herewith to the above-named
Defendants for response within Forty-Five (45) days after service hereof, in the form provided by
law, the following requests for admission:

1.
Admit that you have been properly served with the Summons and Complaint.
2.
Admit that you are subject to the personal jurisdiction of this Court,
3.
Admit that you are properly named in the Complaint.
4,
Admit that Venue is proper in this Court.
5.

Admit that you are 100% responsible for causing the subject motor vehicle collision.
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6.
Admit that you are partially responsible for causing the subject motor vehicle collision.
7.
Admit that Plaintiff did not cause or contribute to causing the motor vehicle collision.
8.
Admit that there is no non-party who caused or contributed to causing the motor vehicle

collision.
9.
Admit that Plaintiff was injured as a result of the subject motor vehicle collision.
10.
Admit that Plaintiff incurred medical expenses in the amount of at least $125,508.60 as a

result of the subject motor vehicle collision.

SERVED WITH COMPLAINT

This Sth day of May, 2021.

[Signature Appears on Following Page]
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Respectfully Submitted,
FRIED GOLDBERG LLC

By: Adam P. Swuithe.
MICHAEL L. GOLDBERG
Georgia Bar No. 299472
ERIC J.D. ROGERS
Georgia Bar No. 100081
ADAM P. SMITH
Georgia Bar No. 899334

Attorneys for Plaintiff

Three Alliance Center

3550 Lenox Road, Ste. 1500
Atlanta, Georgia 30326-4302
(404) 591-1800 (office)
(404) 591-1801 (fax)
michael(@friedgoldberg.com

eric@friedgoldberg.com

adam@friedgoldberg.com
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 15 of 77

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CLERK OF STATE COURT
HENRY COUNTY, GEORGIA

 

$T$V2021000749
IN THE STATE COURT OF HENRY COUNTY VAL
& F M.. VPbeseo
LINDON WILSON, “em Heney County, Georgia
Plaintiff,
VS, CIVIL ACTION FILE

NO.: STS8V2021000749

HORTON TRANSPORTATION LLC,
CHEROKEE INSURANCE COMPANY,
and TYLER YOTHER,

Defendants.

 

 

PLAINTIFF’S FIRST INTERROGATORIES AND REQUEST
FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS

   

TO: Defendants by and through their counsel of record.

Plaintiff, pursuant to O.C.G.A. §§ 9-11-33 and 9-11-34, submits herewith to Defendants, for
response within forty-five (45) days after service hereof, in the form provided by law, the following
interrogatories and requests for production of documents, the same being continuing in nature,
requiring a supplemental response upon the discovery of other or further information or documents
affecting your response hereto.

In responding, you are requested to answer fully and produce all documents available to you
or in your possession or in the possession of any agent, insurer, investigator or attorney acting in your
behalf.

1,

State the name and address of any individual or entity with any ownership or lease interest in

the tractor or trailer (including any container or chassis if applicable) driven by Defendant Tyler

Y other on the date of the incident referred to in the Complaint and describe the nature of the interest.
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2.

Identify all vehicle leases, subleases, trip leases, or other leasing or sharing arrangements
involving the tractor or trailer (including any container or chassis, if applicable) by Defendant Tyler
Yother from thirty days prior to the subject collision to thirty days subsequent to the collision.

3.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of any lease, contract, or other agreement regarding the tractor or trailer
(including any container or chassis, if applicable) driven by Defendant Tyler Yother on the day of the
incident referred to in the complaint. In lieu of this, you may attach copies thereof to your answers to
these interrogatories.

4.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of the bill of sale, title, and any other documents relating to the ownership of
the tractor and trailer driven (including container or chassis, if applicable) by Defendant Tyler Yother
on the date of the incident referred to in the complaint. In lieu of this, you may attach copies thereof
to your answers to these interrogatories.

5.

Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,

Georgia 30326, copies of any lease, employment contract, or any other documents regarding the
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employment status of Defendant Tyler Yother. In lieu of this, you may attach copies thereof to your
answers to these interrogatories.
6.

State the point of origin, destination and reason for the trip being made by the Defendant at

the time of the incident referred to in the Complaint.
7.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, a copy of the bill of lading for any loads carried by Defendant Tyler Yother for the
eight day period preceding the incident referred to in the complaint. In lieu of this, you may attach
copies thereof to your answers to these interrogatories.

8.

In regard to the load being transported at the time of the collision by Defendant Tyler
Yother, identify:

(a) Where the load originated;

(b) The contents thereof;

(c) The weight of said load;

(d) The final destination of the load; and

(e) Any contracts, bills of lading, shipment documents, consignment forms, fax

correspondence, or other writings pertaining to the transportation of said load.
9.
Was the Defendant's vehicle covered by liability insurance? If so, state the names of all

insurers providing liability insurance on said vehicle and give the limits of coverage of each such
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policy.
10.

Has any insurer referred to above denied coverage or reserved its right to later deny coverage
under any such policy of liability insurance? If so, please explain.

11.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, the policy of insurance identified in response to Interrogatory No. 9. In lieu of this,
you may attach copies thereof to your answers to these interrogatories.

12,

Do you contend that Plaintiff caused or contributed to the collision in question? If so, state

with particularity each and every contention made in this regard.
13.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, any trip reports or dispatch records in regard to Defendant Tyler Yother for the two
week period preceding the incident referred to in the complaint. In lieu of this, you may attach copies
thereof to your answers to these interrogatories.

14.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, a copy of all driver’s logs or time cards for Defendant Tyler Yother for the six month

period preceding the incident referred to in the complaint. In lieu of this, you may attach copies
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thereof to your answers to these interrogatories.
15,

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of all weight tickets, check stubs, fuel receipts, invoices, hotel bills and other
records for any expenses incurred by Defendant Tyler Yother for the six month period preceding the
incident referred to in the complaint. In lieu of this, you may attach copies thereof to your answers to
these interrogatories.

16.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of all daily, monthly, and annual inspection reports, and any other inspection
reports concerning the tractor and trailer (including any container or chassis, if applicable) driven by
Defendant Tyler Yother on the day of the incident referred to in the complaint for the one year period
preceding this incident and the six month period following this incident. In lieu of this, you may
attach copies thereof to your answers to these interrogatories.

17.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of all maintenance records, repair invoices and work orders concerning the
tractor and trailer (including any container or chassis, if applicable) driven by Defendant Tyler Yother

on the day of the incident referred to in the complaint for the one year period preceding this incident
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 20 of 77

and the six month period following this incident. In lieu of this, you may attach copies thereof to your
answers to these interrogatories.
18.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, a copy of Defendant Tyler Yother’s driver qualification file, including but not limited
to:

(a) Application for employment;

(b) Copy of his CDL license;

(c) Driver’s certification of prior motor vehicle accidents;

(d) _ Driver’s certification of prior violations of motor vehicle laws;

(e) Driver’s prior employment history;

(f) Carrier’s inquiry into his driving record;

(g) Carrier’s inquiry into his employment record;

(h) Documents regarding carrier’s annual review of his driving record;

(i) Response of each state agency to carrier’s annual inquiry concerning his driving

record;

(j) Certification of driver’s road test;

(k) Medical examiners certificate;

(1) Statement setting forth in detail any denial, revocation, or suspension of any license,

permit or privilege to operate a motor vehicle;

(m) Training certificates and training documents;

(n) Drug testing records; and
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 21 of 77

(0)

Any other documents.

In lieu of this, you may attach copies thereof to your answers to these interrogatories.

19.

Did you conduct a post-accident alcohol and controlled substance test on Defendant Tyler

Yother? If so, please state:

(a)
(b)
(c)
(d)

The date of testing;

Who performed the test;

Where the test was performed; and
The results of the test.

20,

Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,

Georgia 30326, copies of any printouts, records, correspondence, memoranda, or other documents

concerning post-accident alcohol and controlled substance testing of Defendant Tyler Yother. In lieu

of this, you may attach copies thereof to your answers to these interrogatories.

21.

If post-accident testing was not performed on Defendant Tyler Yother, please state the

reasons such testing did not occur.

22.

Was a post-accident report completed and forwarded to the Federal Highway

Administration? If not, please state the reasons that a post-accident report was not completed.

23.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 22 of 77

copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, a copy of any post-accident report. In lieu of this, you may attach copies thereof to
your answers to these interrogatories.

24.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, the accident register for Defendant for the one year period preceding the subject
accident. In lieu of this, you may attach copies thereof to your answers to these interrogatories.

25.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of any driver manuals, guidelines, rules or regulations issued to drivers by
Defendant or kept by Defendant. In lieu of this, you may attach copies thereof to your answers to
these interrogatories.

26.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of any reports, memoranda, notes, logs or other documents evidencing any
complaints about Defendant Tyler Yother. In lieu of this, you may attach copies thereof to your
answers to these interrogatories.

27.
Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 23 of 77

Georgia 30326, copies of all safety manuals, brochures, handouts, literature, or other written
documents pertaining to safety provided to drivers by Defendant or kept by Defendant. In lieu of this,
you may attach copies thereof to your answers to these interrogatories.

28.

State in detail the factual basis for each defense you have raised in your answer to the
complaint.

29.

State the name, address, and telephone number for the President, Safety Director, Federal
Safety Regulation Compliance Officer, and the Dispatcher for the trip which ultimately resulted
in the collision, and all persons who interviewed and were involved with the hiring or associating
of Defendant Tyler Yother.

30.

State whether the tractor involved in the collision contained or utilized an on-board
recording device, an on-board computer, tachograph, trip monitor, trip recorder, trip master,
Qualcomm, Vorad, ECM or device known by any other name which records information
concerning the operation of the tractor.

31.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of any printouts, records or documents produced by any device identified in
response to the preceding interrogatory for the six month period prior to the incident referred to in the

complaint, In lieu of this, you may attach copies thereof to your answers to these interrogatories.
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 24 of 77

32.

Describe the tractor operated by Defendant Tyler Yother at the time of the collision,
including but not limited to the year, make, and model, mileage, maintenance history, all features,
specifications, special equipment, governors, on-board recording devices, radar detectors, CB
radios, or other descriptive information regarding the tractor and trailer unit.

33.

Has Defendant ever been cited by the Department of Transportation, Public Service
Commission, or Federal Highway Administration for violation of the Federal Motor Carrier Safety
Regulations? If so, please state for each instance:

(a) The date of the violation;

(b) A description of the violation;

(c) The location where the violation occurred;

(d) The agency issuing the citation; and

(e) The ultimate disposition of the charges.

34.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, any document concerning any violation identified in response to the preceding
interrogatory. In lieu of this, you may attach copies thereof to your answers to these interrogatories.

35.

Has Defendant ever been disqualified or placed out-of-service? If so, please state for each

instance.

(a) The dates of disqualification; and

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 25 of 77

(b) The reason for the disqualification
36.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, any document concerning any disqualification or out-of-service identified in response
to the preceding interrogatory. In lieu of this, you may attach copies thereof to your answers to these
interrogatories.

37.

Identify the name and address of any repair facility which performed repairs or
maintenance on the tractor and trailer (including any container or chassis, if applicable) driven by
Defendant Tyler Yother on the date of the incident referred to in the complaint for the one year
period preceding the incident and six month period after the incident.

38.

State the extent of any training provided to Defendant Tyler Yother by this Defendant or
any outside agency since the date of Defendant Tyler Yother’s application for employment or the
date he began driving for this Defendant, whichever came first.

39.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of any documents regarding any training received by Defendant Tyler Yother.

In lieu of this, you may attach copies thereof to your answers to these interrogatories.

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40.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, any permits or licenses regarding the tractor and trailer driven by Defendant Tyler
Yother and the load transported by Defendant Tyler Yother at the time of the incident referred to in
the complaint. In lieu of this, you may attach copies thereof to your answers to these interrogatories.

41.

Please explain the nature of the employment relationship between this Defendant and
Defendant Tyler Yother (i.c., lease operator, company driver, temporary driver, etc.), including, but
not limited to: the date the employment relationship began, if the employment relationship has been
terminated, the date of such termination, and the identity of the person who terminated such driver.

42.
With respect to Defendant Tyler Yother, please state the driver’s mode of compensation.
43.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, the payroll information concerning said driver for the six (6) months prior to and the
two (2) months subsequent to said collision and his pay check for the time period covering the date
of the collision. (Plaintiff's counsel is not requesting copies of pay checks unless otherwise specified
but requests the individualized payroll record ledger sheet indicating the amount of pay, miles driven
for the time periods specified, etc.). In lieu of this, you may attach copies thereof to your answers to

these interrogatories.

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44,

Does this Defendant, on its own or through its insurer, or through any other person or business
entity, obtain information from any private source or governmental agency concerning the driving
history, driving infractions, and motor vehicle records of drivers it employs? If so, please state the
name and business of each entity through which such information was requested or obtained
concerning the driver involved in the subject collision, and the dates upon which such information
was obtained conceming the driver operating the commercial truck involved in the subject collision.

45.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, all motor vehicle records or reports of any kind received from any private corporation
or service, or any governmental entity relative to the driving history, driving record, and driving
infractions of Defendant Tyler Yother since the commencement of said driver’s employment with
this Defendant up and through the date of trial. In lieu of this, you may attach copies thereof to your
answers to these interrogatories.

46.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, all documents and materials sent to or received from the Director of Regional Motor
Carrier Safety of the Office of the Federal Highway Administration, the Georgia Regulatory
Authority, or any other governmental agency relative to the subject collision which is made the basis

of this lawsuit. In lieu of this, you may attach copies thereof to your answers to these interrogatories.

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47.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, all certificates of authority, filings, registrations, license, permits, or other related
documents issued by or sent to any governmental entity in regard to this Defendant or this Defendant’s
operations. In lieu of this, you may attach copies thereof to your answers to these interrogatories.

48,

Please identify all automobile accidents and moving violations for Defendant Tyler Yother
prior to and subsequent to the incident referred to in the complaint, including the date of the event,
the location, the jurisdiction and a description of the event.

49.

Please state Defendant Tyler Yother’s date of birth, social security number and driver’s
license number.

50.

Please identify the cell phone number and service provider for all cell phones owned, used
or operated by Defendant Tyler Yother on the date of the incident.

51.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, copies of cellphone records showing incoming and outgoing calls, texts and messages
for the date of the incident. In lieu of this, you may attach copies thereof to your answers to these

interrogatories.

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52.

State the name and address of any person, including any party, who, to your knowledge,
information or belief:

(a) Was an eyewitness to the incident complained of in this action,

(b) Has some knowledge of any fact or circumstance upon which your defense is based;

(c) Has conducted any investigation relating to the incident complained of or the

background, employment, medical history or activities of the plaintiff.
53.

To your knowledge, information or belief, has any person identified in answering the
preceding interrogatory given any statement or report in connection with this action? If so, describe
such statement or report and give the name and address of the person having custody and control
thereof.

54.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, all such statements or reports. In lieu thereof, you may attach copies to your answers
to these interrogatories.

55.

To your knowledge, information or belief are there any videotapes, photographs, plats or
drawings of the scene of the incident referred to in the Complaint, the vehicles or plaintiff? If so,
please describe such videotapes, photographs, plats or drawings and give the name and address of the

person having custody and control thereof.

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56.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, all such videotapes, photographs, plats or drawings. In lieu thereof, you may attach
copies to your answers to these interrogatories.

57.

If you intend to call any expert or technician as a witness at the trial of this action, state the
subject matter on which he is expected to testify and state in detail the opinions held by each such
expert or technician and give a complete summary of the grounds for each opinion held.

58.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, any videotape, photograph, report, data, memoranda, handwritten notes, or other
document reviewed by or generated by an individual identified in response to the preceding
interrogatory. In lieu of this, you may attach copies thereof to your answers to these interrogatories.

59.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, any documents obtained through a request for production of documents or subpoena.
In lieu of this, you may attach copies thereof to your answers to these interrogatories.

60.
In regard to any document which has not been produced on grounds of privilege, please

state the following:

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(a) The date each document was generated;

(b) The person generating each document,

(c) The present custodian of each document;

(d) A description of each document.

61.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, any medical records, videotapes, photographs, or other evidence concerning,
referencing, or depicting plaintiff. In lieu of this, you may attach copies thereof to your answers to
these interrogatories.

62.

Forty-five (45) days after service hereof, you are requested to produce for inspection and
copying by the Plaintiff at the offices of Fried Goldberg LLC, 3550 Lenox Road, Suite 1500, Atlanta,
Georgia 30326, any PSP report or similar report from the FMCSA on the defendant driver showing
his prior accidents and inspection history. In lieu of this, you may attach copies thereof to your
answers to these interrogatories.

SERVED WITH COMPLAINT

This 5th day of May, 2021.

[Signature Appears on Following Page}

17
Case 1:21-cv-02379-JPB

Three Alliance Center

3550 Lenox Road, Ste. 1500
Atlanta, Georgia 30326-4302
(404) 591-1800 (office)
(404) 591-1801 (fax)
michael@f{riedgoldberg.com
eric(@friedgoldberg.com

adam(@friedgoldberg.com

Document 1-1 Filed 06/09/21 Page 32 of 77

Respectfully Submitted,
FRIED GOLDBERG LLC

By: 4daw P. Smithy

18

MICHAEL L. GOLDBERG
Georgia Bar No. 299472
ERIC J.D. ROGERS
Georgia Bar No. 100081
ADAM P. SMITH

Georgia Bar No. 899334

Attorneys for Plaintiff
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 33 of 77

44 EFILED IN OFFICE
CLERK OF STATE COURT
HENRY COUNTY, GEORGIA

STSV2021000749
IN THE STATE COURT OF HENRY COUNTY VAL
LINDON WILSON, BIE EN Ty Couniy Gang
Plaintiff,
vs. CIVIL ACTION FILE

NO.: STSv2021000740

HORTON TRANSPORTATION LLC,
CHEROKEE INSURANCE COMPANY,
and TYLER YOTHER,

Defendants.

 

 

PLAINTIFF'S FIRST REQUESTS FOR ADMISSION TO DEFENDANTS
TO: Defendants, by and through counsel of record.

Plaintiff, pursuant to O.C.G.A. § 9-11-36, submits herewith to the above-named
Defendants for response within Forty-Five (45) days after service hereof, in the form provided by
law, the following requests for admission:

1,
Admit that you have been properly served with the Summons and Complaint.
2.
Admit that you are subject to the personal jurisdiction of this Court.
3.
Admit that you are properly named in the Complaint.
4,
Admit that Venue is proper in this Court.
5.

Admit that you are 100% responsible for causing the subject motor vehicle collision.
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6.
Admit that you are partially responsible for causing the subject motor vehicle collision.
7.
Admit that Plaintiff did not cause or contribute to causing the motor vehicle collision.
8.
Admit that there is no non-party who caused or contributed to causing the motor vehicle
collision,
9.
Admit that Plaintiff was injured as a result of the subject motor vehicle collision.
10.
Admit that Plaintiff incurred medical expenses in the amount of at least $125,508.60 as a

result of the subject motor vehicle collision.

SERVED WITH COMPLAINT

This 5th day of May, 2021.

[Signature Appears on Following Page]
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 35 of 77

Respectfully Submitted,
FRIED GOLDBERG LLC

By: ddanvP. Suuth
MICHAEL L, GOLDBERG
Georgia Bar No. 299472
ERIC J.D. ROGERS
Georgia Bar No. 100081
ADAM P. SMITH
Georgia Bar No. 899334

Attorneys for Plaintiff

Three Alliance Center

3550 Lenox Road, Ste. 1500
Atlanta, Georgia 30326-4302
(404) 591-1800 (office)
(404) 591-1801 (fax)
michael@friedgoldberg.com
eric@friedgoldberg.com
adam@friedgoldberg.com
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#4 EFILED IN OFFICE
CLERK OF STATE COURT
HENRY COUNTY, GEORGIA

 

 

STATE OF GEORGIA STSV2021 000749

STATE COURT OF HENRY COUNTY, GEORGIA VAL

CIVIL DIVISION MAY 19, 2021 11:16 AM
Wh. elicard
2 M, Policara, Clerk of State Court

LINDON WILSON, et ai, Case No.: STSV2021000749 Henry County, Georgia

v.

HORTON TRANSPORTATION LLC, CHEROKEE INSURANCE
COMPANY, TYLER YOTHER, et a/,

 

AFFIDAVIT OF SERVICE
DEFENANT: Cherokee Insurance Company

 

Being duly sworn on my oath, I GINA SHARBOWSKI declare that I am a citizen of the United States, over the age
of eighteen and full time process server, authorized to serve process in this jurisdiction, and not a party to or interested in
the proceedings of this action. I received this process on 5-6-21, and that I personally served the following: SUMMONS
(date filed: 5-5-21); COPMPLAINT WITH JURY TRIAL DEMANDED; PLAINTIFF'S FIRST REQUESTS FOR ADMISSIONS TO
DEFENDANTS; PLAINTIFF'S FIRST INTERROGATORIES AND REQUEST FOR PRODUCTION OF DOCUMENTS TO
DEFENDANTS; in regards to the above case, upon:

CHEROKEE INSURANCE

as foltows:

CORPORATE SERVICE: by serving: MARK J. DADABBO, R/A, personally,
by identifying him and handing him the papers

Sex: M Age: 50's Race: W/obrn hair/bald

at:
Complete Address of Service Day, Date, Time.of service

CORPORATE/BUSINESS Address: .
34200 Mound Road Thurs. _ MAY 0 6 2021 @ 3:38pm

Sterling Heights, Michigan 48310 _.

MACOMB County, Michigan

I declare under the penalties of perjury that the information

contained in this Affidavit of Service is true and correct. y Pp Sy
( i

Gina Sharbowski

Process Servet

 

1221 Bowers Street, #103
Birmingham, Michigan 48012

MAY 1 8 2021

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Lists fs I Lge

 

Wendy L Mont
Notary Public - State of Michigan
Co unty of Genesee

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 37 of 77

a EFILED IN OFFICE
CLERK OF STATE COURT
HENRY COUNTY, GEORGIA

AFFIDAVIT OF SERVICE STSV2021000749
VAL
MAY 21, 2021 10:04 AM
State of Georgia County of Henry State Court

Case Number: STSV2021000749 ynne M. Poligaro, Glork of State Court

Henry County, Georgia

 

Plaintiff:
WILSON, LINDON

VS.

Defendant:

HORTON TRANSPORTATION LLC
CHEROKEE INSURANCE COMPANY
YOTHER, TYLER

Received by FRIEDGOLDBERG on the 6th day of May, 2021 at 8:43 am to be served on HORTON
TRANSPORTATION LLC C/O REGISTERED AGENT DANEIL JOSEPH TURKLAY, 2120 LEBANON PIKE, APT
42, NASHVILLE, TN 37210.

|, JAMES C BELLI, PI, being duly sworn, depose and say that on the 18th day of May, 2021 at 10:14 am, I:

served a REGISTERED AGENT by delivering a true copy of the SUMMONS AND COMPLAINTPIfs First RFAs
to DefsPif's First Roggs & RPDs to Defs with the date and hour of service endorsed thereon by me, to. DANEIL
JOSEPH TURKLAY as Registered Agent at the address of: 2120 LEBANON PIKE, APT 42, NASHVILLE, TN
37210 on behalf of HORTON TRANSPORTATION LLC, and informed said person of the cantents therein, in
compliance with state statutes.

Additional Information pertaining to this Service:
5/10/2021 5:03 pm Attempted service at 2120 LEBANON PIKE, APT 42, NASHVILLE, TN 37210, No answer at the
door, Notice / card left at the residence, No lights illuminated, No activity observed, No vehicles present

Description of Person Served: Age: 40, Sex: M, Race/Skin Color: White, Height: 6'0", Weight: 200, Hair: Black,
Glasses: N

| CERTIFY THAT | AM OVER THE AGE OF 18 AND HAVE NO INTEREST IN THE ABOVE ACTION. "UNDER
PENALTY OF PERJURY, | DECLARE THAT | HAVE READ THE FOREGOING (DOCUMENT) AND THAT THE
FACTS STATED IN IT ARE TRUE’.

   

J LI, Pl
Subscribed and Sworn to before me on the 19th day rocess Server

of May, 2021 by the affiant who is personally known

   

aie fy gh FRIEDGOLDBERG
xD) ht raceme jt 3550 LENOX ROAD N.E.
Ny A ASK RS SUITE 1500

 

“NOTARY PUBLIC

} |
V [/

ATLANTA, GA 30326
(404) 856-3675

Our Job Serial Number: WGR-2021000211

COPKETE Pitabase Services, Inc. - Process Server's Toolbox V8. 1c
Omm. Expires
March 26, 2029
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 38 of 77

a£ EFILED IN OFFICE
CLERK OF STATE COURT

AFFIDAVIT OF SERVICE
HENRY COUNTY, GEORGIA

 

 

 

 

 

Case: Court: County: Job: 749
STSV2021000749 State Court Henry, GA 5648328 1 on ovat oacal AM
Plaintiff / Petitioner: Defendant / Respondent: ie ‘
Lindon Wilson Horton Transportation LLC, Cherokee Insurangeepmp2n nd/) .

Tyler Yother oH iynine M. Policaro, Clerk pt State Court

Hares unty, Georgia

Received by: For:
Tennessee Court Services Fried Goldberg LLC

 

 

To be served upon:
Tyler Yother

 

 

 

|, Luke Brennan, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/Address; Tyler Yother, Home: 314 Pike Street Apt. 334, Athens, TN 37303
Substitute Service - Personal, May 25, 2021, 2:37 pm EDT

Summons, Complaint, Plaintiff's First Requests for Admission to Defendants and Plaintiff's First
Interrogatories and Request for Production af Documents to Defendants

Manner of Service:
Documents.

Additlonal Comments:

1) Unsuccessful Attempt: May 10, 2021, 4:36 prn EDT at Home: 314 Pike Street Apt. 334, Athens, TN 37303

| was able to speak with the subject Girlfriend Amanda Newman. She stated that he was at work and has late hours. The business card was
left for him to call.

2) Unsuccessful Attempt: May 12, 2021, 1:49 pm EDT at Home: 314 Pike Street Apt. 334, Athens, TN 37303
| spoke with the subject girlfriend again. She advised that her b/f is driving the truck to California and will not be back until the 25th or
26th of May. She also advised that he will able to call me when he gets back home.

3) Successful Attempt: May 25, 2021, 2:37 pm EDT at Home: 314 Pike Street Apt. 334, Athens, TN 37303 received by Tyler Yother. Age: Early
20's; Ethnicity: Caucasian; Gender, Female; Weight: 230; Height: 5'3"; Hair: Black; Eyes: Blue; Relationship: Girlfrlend;
Substitute service accepted on Defendant's behalf by: Amanda Ner.

Subscribed and sworn to before me by the affiant who is

 

 

 

personally knoyn tofne.
dai 6-0f - fet}
Luke Brennan Date Basic 7
Bowey®ubjic My Commission Expi
ires Au
Tennessee Court Services Mullin, 6/ |/w2 p gust 1, 2021
448 N Cedar Bluff Rd Suite 102 a ‘ty ane
Knoxville, TN 37923 sor JAc Ae, Date Commission Expires
833-862-7827 SH" ST xe OS
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= & TENNESSEE: =
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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 39 of 77

#6 EFILED IN OFFICE

CLERK OF STATE COURT
HENRY COUNTY, GEORGIA

STSV2021000749
IN THE STATE COURT OF HENRY COUNTY VAL
STATE OF GEORGIA MAY 05, 2021 12:55 PM

Kipaae. Th. Dp binas 2
Lynne M, Polcare, Clerk of State Court

LINDON WILSON, Henry County, Georgla

 

Plaintiff,

vs. CIVIL ACTION FILE
NO.: STSV2021000749

HORTON TRANSPORTATION LLC, (innqurol "0 nw

GHEROKEE INSURANCE COMPANY,

and TYLER YOTHER, PGWNAL Wy) @,

Defendants. GO) OTE tre

 

 

PLAINTIFE’S FIRST INTERROGATORIES AND REQUEST
FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS

TO: Defendants by and through their counsel of record.

Plaintiff, pursuant to O.C.G.A. §§ 9-11-33 and 9-11-34, submits herewith to Defendants, for
response within forty-five (45) days after service hereof, in the form provided by law, the following
interrogatories and requests for production of documents, the same being continuing in nature,
requiring a supplemental response upon the discovery of other or further information or documents
affecting your response hereto.

In responding, you are requested to answer fully and produce all documents available to you
or in your possession or in the possession of any agent, insurer, investigator or attorney acting in your
behalf.

A.

State the name and address of any individual or entity with any ownership or lease interest in

the tractor or trailer (including any container or chassis if applicable) driven by Defendant Tyler

Yother on the date of the incident referred to in the Complaint and describe the nature of the interest.
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 40 of 77

2 EFILED IN OFFICE
CLERK OF STATE COURT
HENRY COUNTY, GEORGIA

STSV2021000745
IN THE STATE COURT OF HENRY COUNTY VAL
STATE OF GEORGIA JUN 07, 2021 05:23 PM
LINDON WILSON, § PF Se Pole, Cerk of Sate
§
Plaintiff, §
§ CIVIL ACTION
vs. §
§ FILE NO.: STSV2021000749
HORTON TRANSPORTATION LLC, §
CHEROKEE INSURANCE COMPANY, §
and TYLER YOTHER, §
§
Defendants. §
§

 

DEFENDANT HORTON TRANSPORTATION LLC’S ANSWER
AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

COMES NOW HORTON TRANSPORTATION LLC, a Defendant (“Defendant”) in
the above-styled civil action, and files this Answer and Affirmative Defenses to Plaintiff's
Complaint, showing the Court as follows:

FIRST DEFENSE

Plaintiff's claims are, or may be barred, in whole or in part, for failure to state a claim
upon which relief can be granted.

SECOND DEFENSE

This Defendant breached no duty to Plaintiff; therefore, Plaintiff may not recover from
this Defendant in any sum or manner whatsoever.

THIRD DEFENSE

No act or omission of this Defendant caused or contributed to cause any damage alleged
to have been sustained by Plaintiff; therefore, Plaintiff may not recover from this Defendant in

any sum or manner whatsoever.

{Firm/297/00082/PLEADING/0309245 1.DOCX }
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 41 of 77

FOURTH DEFENSE
Pending further investigation and to preserve defenses, this Defendant asserts the
affirmative defenses of contributory negligence, comparative negligence, apportionment,
assumption of the risk and avoidance of the consequences.
FIFTH DEFENSE
To the extent applicable and to preserve defenses, this Defendant asserts the affirmative
defense of improper venue.
SIXTH DEFENSE
Plaintiff has failed to plead special damages pursuant to O.C.G.A.§ 9-11-9(g).
SEVENTH DEFENSE
Plaintiff has a duty to mitigate damages. Should discovery evidence a failure on
Plaintiff's part to do so, this Defendant reserves the right to assert failure to mitigate damages as
an affirmative defense.
EIGHTH DEFENSE
Plaintiff fails to state a claim for punitive damages upon which relief can be granted.
NINTH DEFENSE
There is no clear and convincing evidence that either Defendants were guilty of willful
misconduct, malice, fraud, wantonness, oppression, or that entire want of care which would raise
the presumption of conscious indifference to the consequences and, accordingly, Plaintiff is not
entitled to recover punitive damages in any sum or manner whatsoever.
TENTH DEFENSE
Plaintiff's claims for punitive damages are barred by the Constitutions of the United

States and the State of Georgia.

{Firm/297/00082/PLEADING/03092451.DOCX } -2-
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 42 of 77

ELEVENTH DEFENSE

Plaintiff's Complaint fails to state a negligent hiring claim upon which relief can be
granted because Tyler Yother was not an employee of Horton Transportation LLC. See New
Star Realty, Inc. v. Jungang PRI USA, LLC, 346 Ga. App. 548, 816 S.E.2d 501 (2018), citing
Finley v. Lehman, 218 Ga. App. 789, 463 S.E.2d 709 (1995); see also O.C.G.A. §§ 34-7-20, 51-
2-5.

TWELFTH DEFENSE

As a Twelfth Defense, this Defendant answers the numbered paragraphs of Plaintiff's
Complaint as follows:

PARTIES AND JURISDICTION
1.

This Defendant can neither admit nor deny the allegations contained in Paragraph 1 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

2.

This Defendant admits the allegations contained within Paragraph 2 of Plaintiff's
Complaint.

3.

This Defendant can neither admit nor deny the allegations contained in Paragraph 3 of
Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

{Firm/297/00082/PLEA DING/0309245 1.DOCX } -3-
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 43 of 77

4.

This Defendant can neither admit nor deny the allegations contained in Paragraph 4 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

5.

This Defendant can neither admit nor deny the allegations contained in Paragraph 5 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

6.

This Defendant can neither admit nor deny the allegations contained in Paragraph 6 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

BACKGROUND
7.

This Defendant can neither admit nor deny the allegations contained in Paragraph 7 of
Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

8.

This Defendant can neither admit nor deny the allegations contained in Paragraph 8 of

Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

{Firm/297/00082/PLEADING/03092451.DOCX } -4-
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 44 of 77

9.

This Defendant can neither admit nor deny the allegations contained in Paragraph 9 of

Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

10.
This Defendant denies the allegations contained within Paragraph 10 of Plaintiff's

Complaint.

11.
This Defendant denies the allegations contained within Paragraph 11 of Plaintiff's
Complaint.
12.

This Defendant denies the allegations contained within Paragraph 12 of Plaintiff's

Complaint.
COUNT I - NEGLIGENCE

13.

This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs 1 through 12 of Plaintiffs Complaint as if those responses were set

forth herein by reference.

14.

This Defendant can neither admit nor deny the allegations contained in Paragraph 14 of

Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 45 of 77

15.

This Defendant denies the allegations contained within Paragraph 15 of Plaintiff's
Complaint.

16,

This Defendant denies the allegations contained within Paragraph 16 of Plaintiff's
Complaint.

COUNT II — IMPUTED LIABILITY
17.

This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs 1 through 16 of Plaintiff's Complaint as if those responses were set
forth herein by reference.

18.

This Defendant admits upon information and belief the allegations contained within
Paragraph 18 of Plaintiff's Complaint.

19.

This Defendant admits upon information and belief the allegations contained within
Paragraph 19 of Plaintiff's Complaint.

20.

This Defendant can neither admit nor deny the allegations contained in Paragraph 20 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 46 of 77

COUNT Ill — NEGLIGENT HIRING, TRAINING & SUPERVISION
21.

This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs 1 through 20 of Plaintiff's Complaint as if those responses were set

forth herein by reference.
22.
This Defendant denies the allegations contained within Paragraph 22 of Plaintiff's

Complaint.

23.
This Defendant denies the allegations contained within Paragraph 23 of Plaintiff's

Complaint.

24.
This Defendant denies the allegations contained within Paragraph 24 of Plaintiff's
Complaint.
25.
This Defendant denies the allegations contained within Paragraph 25 of Plaintiff's
Complaint.
COUNT IV — DIRECT ACTION
26.
This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs 1 through 25 of Plaintiff's Complaint as if those responses were set

forth herein by reference.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 47 of 77

27.

This Defendant admits that Defendant Cherokee Insurance Company provided a policy of
liability insurance to this Defendant. This Defendant can neither admit nor deny the remaining
allegations contained in Paragraph 27 of Plaintiff's Complaint for want of knowledge or
information sufficient to form a belief as to the truth thereof and puts Plaintiff upon strict proof
of the same.

28.

This Defendant admits that Cherokee Insurance Company provided a policy of liability
insurance to this Defendant. This Defendant can neither admit nor deny the remaining
allegations contained in Paragraph 28 of Plaintiffs Complaint for want of knowledge or
information sufficient to form a belief as to the truth thereof and puts Plaintiff upon strict proof
of the same.

29.

This Defendant can neither admit nor deny the allegations contained in Paragraph 29 of
Plaintiff’s Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

30.
This Defendant denies the allegations contained within Paragraph 30 of Plaintiff's

Complaint.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 48 of 77

COUNT V — DAMAGES
31.

This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs | through 30 of Plaintiffs Complaint as if those responses were set
forth herein by reference.

32.

This Defendant denies the allegations contained within Paragraph 32 of Plaintiff's
Complaint.

33.

This Defendant denies the allegations contained within Paragraph 33 of Plaintiff's
Complaint.

34.

This Defendant denies the allegations contained within Paragraph 34 of Plaintiffs
Complaint.

355

This Defendant denies the allegations contained within Paragraph 35 of Plaintiff's
Complaint.

COUNT VI -— PUNITIVE DAMAGES
36.

This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs 1 through 35 of Plaintiff's Complaint as if those responses were set

forth herein by reference.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 49 of 77

37.
This Defendant denies the allegations contained within Paragraph 37 of Plaintiff's
Complaint.
38.
This Defendant denies that Plaintiff is entitled to the relief requested within the
“Wherefore” paragraph of Plaintiffs Complaint.
THIRTEENTH DEFENSE
This Defendant denies any remaining allegations contained in Plaintiff's Complaint not
previously responded to.
WHEREFORE, having fully answered, Defendant HORTON TRANSPORTATION LLC
prays that it be discharged without costs.
A TRIAL BY JURY OF TWELVE IS DEMANDED.
This 7th day of June, 2021.

CRUSER, MITCHELL, NOVITZ,
SANCHEZ, Ce & ZIMET, LLP

fi — =
JASON G. WYRICK
Georgia Bar No. 143112

ROBERT F. NOENS

 

Meridian II, Suite 2000 Georgia Bar No. 193846
275 Scientific Drive J. ROBB CRUSER

Peachtree Corners, GA 30092 Georgia Bar No. 199480
(404) 881-2622 Attorneys for Defendants

(404) 881-2630 (Fax)
iwyrick(@cmlawfirm.com
moens(@cmlawfirm.com
reruser(@cmlawfirm.com

 

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 50 of 77

IN THE STATE COURT OF HENRY COUNTY

STATE OF GEORGIA
LINDON WILSON, §
§
Plaintiff, §
§ CIVIL ACTION
vs. §
§ FILE NO.: STSV2021000749
HORTON TRANSPORTATION LLC, §
CHEROKEE INSURANCE COMPANY, §
and TYLER YOTHER, §
§
Defendants. §
§

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I have this day electronically filed the within and foregoing
DEFENDANT HORTON TRANSPORTATION LLC’S ANSWER AND AFFIRMATIVE
DEFENSES TO PLAINTIFF’S COMPLAINT with the Clerk of Court using the PeachCourt
system which will send e-mail notification of such filing to the following counsel of record:

Michael L. Goldberg, Esq. Mitchell E. McGough, Esq.
Eric J.D. Rogers, Esq. Mitchell E. McGough Law, LLC
Adam P. Smith, Esq. 945 E. Paces Ferry Rd. Suite 2250
Fried Goldberg LLC Atlanta, GA 30326

Three Alliance Center, Suite 1500 Attorney for Plaintiff

3550 Lenox Road, N.E.
Atlanta, GA 30326
Attorneys for Plaintiff

This 7th day of June, 2021.

CRUSER, MITCHELL, NOVITZ,
SANCHEZ, GASTON & ZIMET, LLP

 

 

JASON G. WYRICK >
Georgia Bar No. 143112

Meridian II, Suite 2000 ROBERT F. NOENS
275 Scientific Drive Georgia Bar No. 193846
Peachtree Corners, GA 30092 J. ROBB CRUSER
(404) 881-2622 Georgia Bar No. 199480
(404) 881-2630 (Fax) Attorneys for Defendants

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 51 of 77

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HENRY COUNTY, GEORGIA

STSV2021000745
IN THE STATE COURT OF HENRY COUNTY VAL
STATE OF GEORGIA JUN 07, 2021 05:23 PM
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LINDON WILSON, § 7 ss nN eben. oe
§
Plaintiff, §
§ CIVIL ACTION
vs. §
§ FILE NO.: STSV2021000749
HORTON TRANSPORTATION LLC, §
CHEROKEE INSURANCE COMPANY, §
and TYLER YOTHER, §
§
Defendants. §
§

 

DEFENDANT CHEROKEE INSURANCE COMPANY’S ANSWER
AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

COMES NOW CHEROKEE INSURANCE COMPANY, a Defendant (“Defendant”)
in the above-styled civil action, and files this Answer and Affirmative Defenses to Plaintiff's
Complaint, showing the Court as follows:

FIRST DEFENSE

Plaintiff's claims are, or may be barred, in whole or in part, for failure to state a claim
upon which relief can be granted.

SECOND DEFENSE

This Defendant breached no duty to Plaintiff; therefore, Plaintiff may not recover from
this Defendant in any sum or manner whatsoever.

THIRD DEFENSE

No act or omission of this Defendant caused or contributed to cause any damage alleged
to have been sustained by Plaintiff; therefore, Plaintiff may not recover from this Defendant in

any sum or manner whatsoever.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 52 of 77

FOURTH DEFENSE
Pending further investigation and to preserve defenses, this Defendant asserts the
affirmative defenses of contributory negligence, comparative negligence, apportionment,
assumption of the risk and avoidance of the consequences.
FIFTH DEFENSE
To the extent applicable and to preserve defenses, this Defendant asserts the affirmative
defense of improper venue.
SIXTH DEFENSE
Plaintiff has failed to plead special damages pursuant to O.C.G.A.§ 9-11-9(g).
SEVENTH DEFENSE
Plaintiff has a duty to mitigate damages. Should discovery evidence a failure on
Plaintiff's part to do so, this Defendant reserves the right to assert failure to mitigate damages as
an affirmative defense.
EIGHTH DEFENSE
Plaintiff fails to state a claim for punitive damages upon which relief can be granted.
NINTH DEFENSE
There is no clear and convincing evidence that either Defendants were guilty of willful
misconduct, malice, fraud, wantonness, oppression, or that entire want of care which would raise
the presumption of conscious indifference to the consequences and, accordingly, Plaintiff is not
entitled to recover punitive damages in any sum or manner whatsoever.
TENTH DEFENSE
Plaintiff's claims for punitive damages are barred by the Constitutions of the United

States and the State of Georgia.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 53 of 77

ELEVENTH DEFENSE

Plaintiff's Complaint fails to state a negligent hiring claim upon which relief can be
granted because Tyler Yother was not an employee of Horton Transportation LLC. See New
Star Realty, Inc. v. Jungang PRI USA, LLC, 346 Ga. App. 548, 816 S.E.2d 501 (2018), citing
Finley v. Lehman, 218 Ga. App. 789, 463 S.E.2d 709 (1995); see also O.C.G.A. §§ 34-7-20, 51-
2-5.

TWELFTH DEFENSE

As a Twelfth Defense, this Defendant answers the numbered paragraphs of Plaintiffs
Complaint as follows:

PARTIES AND JURISDICTION
1,

This Defendant can neither admit nor deny the allegations contained in Paragraph | of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

2.

This Defendant can neither admit nor deny the allegations contained in Paragraph 2 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

3.
This Defendant admits the allegations contained within Paragraph 3 of Plaintiffs

Complaint.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 54 of 77

4.

This Defendant can neither admit nor deny the allegations contained in Paragraph 4 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

5.

This Defendant can neither admit nor deny the allegations contained in Paragraph 5 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

6.

This Defendant can neither admit nor deny the allegations contained in Paragraph 6 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

BACKGROUND
7.

This Defendant can neither admit nor deny the allegations contained in Paragraph 7 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

8.

This Defendant can neither admit nor deny the allegations contained in Paragraph 8 of

Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 55 of 77

o

This Defendant can neither admit nor deny the allegations contained in Paragraph 9 of

Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.
10.
This Defendant denies the allegations contained within Paragraph 10 of Plaintiff's
Complaint.
11.
This Defendant denies the allegations contained within Paragraph 11 of Plaintiff's
Complaint.
12.
This Defendant denies the allegations contained within Paragraph 12 of Plaintiff's

Complaint.
COUNT I - NEGLIGENCE

13.

This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs 1 through 12 of Plaintiff's Complaint as if those responses were set

forth herein by reference.

14.

This Defendant can neither admit nor deny the allegations contained in Paragraph 14 of

Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 56 of 77

15.

This Defendant denies the allegations contained within Paragraph 15 of Plaintiff's
Complaint.

16.

This Defendant denies the allegations contained within Paragraph 16 of Plaintiff's
Complaint.

COUNT II — IMPUTED LIABILITY
17.

This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs 1 through 16 of Plaintiff's Complaint as if those responses were set
forth herein by reference.

18.

This Defendant can neither admit nor deny the allegations contained in Paragraph 18 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

19.

This Defendant can neither admit nor deny the allegations contained in Paragraph 19 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

20.

This Defendant can neither admit nor deny the allegations contained in Paragraph 20 of

Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 57 of 77

COUNT II —- NEGLIGENT HIRING, TRAINING & SUPERVISION
21.

This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs | through 20 of Plaintiff's Complaint as if those responses were set

forth herein by reference.
22.
This Defendant denies the allegations contained within Paragraph 22 of Plaintiff's
Complaint.
23.
This Defendant denies the allegations contained within Paragraph 23 of Plaintiff's
Complaint.
24.
This Defendant denies the allegations contained within Paragraph 24 of Plaintiff's
Complaint.
25.
This Defendant denies the allegations contained within Paragraph 25 of Plaintiffs
Complaint.
COUNT IV — DIRECT ACTION
26.
This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs 1 through 25 of Plaintiff's Complaint as if those responses were set

forth herein by reference.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 58 of 77

27.

This Defendant admits that it provided a policy of liability insurance to Horton
Transportation LLC. This Defendant can neither admit nor deny the remaining allegations
contained in Paragraph 27 of Plaintiff's Complaint for want of knowledge or information
sufficient to form a belief as to the truth thereof and puts Plaintiff upon strict proof of the same.

28.

This Defendant admits that it provided a policy of lability insurance to Horton
Transportation LLC. This Defendant can neither admit nor deny the remaining allegations
contained in Paragraph 28 of Plaintiff's Complaint for want of knowledge or information
sufficient to form a belief as to the truth thereof and puts Plaintiff upon strict proof of the same.

29.

This Defendant can neither admit nor deny the allegations contained in Paragraph 29 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

30.

This Defendant denies the allegations contained within Paragraph 30 of Plaintiff's
Complaint.

COUNT V — DAMAGES
31.

This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs 1 through 30 of Plaintiff's Complaint as if those responses were set

forth herein by reference.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 59 of 77

32.
This Defendant denies the allegations contained within Paragraph 32 of Plaintiffs
Complaint.
33.

This Defendant denies the allegations contained within Paragraph 33 of Plaintiffs

Complaint.
34,
This Defendant denies the allegations contained within Paragraph 34 of Plaintiffs
Complaint.
35.

This Defendant denies the allegations contained within Paragraph 35 of Plaintiff's
Complaint.

COUNT VI— PUNITIVE DAMAGES
36.

This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs 1 through 35 of Plaintiff's Complaint as if those responses were set
forth herein by reference.

37.

This Defendant denies the allegations contained within Paragraph 37 of Plaintiff's

Complaint.
38.
This Defendant denies that Plaintiff is entitled to the relief requested within the

“Wherefore” paragraph of Plaintiff's Complaint.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 60 of 77

THIRTEENTH DEFENSE

This Defendant denies any remaining allegations contained in Plaintiff's Complaint not

previously responded to.

WHEREFORE, having fully answered, Defendant CHEROKEE INSURANCE

COMPANY prays that it be discharged without costs.

A TRIAL BY JURY OF TWELVE IS DEMANDED.

This 7th day of June, 2021.

Meridian II, Suite 2000

275 Scientific Drive
Peachtree Comers, GA 30092
(404) 881-2622

(404) 881-2630 (Fax)

jwyrick@cmlawfirm.com
moensiacmlawfirm.com

reruser(@cmlawfirm.com

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CRUSER, MITCHELL, NOVITZ,
SANCHEZ, CN & ZIMET, LLP

—————$—=—
JASON G. WYRICK >
Georgia Bar No. 143112
ROBERT F. NOENS
Georgia Bar No. 193846
J. ROBB CRUSER
Georgia Bar No. 199480
Attorneys for Defendants

 
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 61 of 77

IN THE STATE COURT OF HENRY COUNTY

STATE OF GEORGIA
LINDON WILSON, §
§
Plaintiff, §
§ CIVIL ACTION
vs. §
§ FILE NO.: STSV2021000749
HORTON TRANSPORTATION LLC, §
CHEROKEE INSURANCE COMPANY, §
and TYLER YOTHER, §
§
Defendants. §

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I have this day electronically filed the within and foregoing
DEFENDANT CHEROKEE INSURANCE COMPANY’S ANSWER AND
AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT with the Clerk of Court
using the PeachCourt system which will send e-mail notification of such filing to the following
counsel of record:

Michael L. Goldberg, Esq. Mitchell E. McGough, Esq.
Eric J.D. Rogers, Esq. Mitchell E. McGough Law, LLC
Adam P. Smith, Esq. 945 E. Paces Ferry Rd. Suite 2250
Fried Goldberg LLC Atlanta, GA 30326
Three Alliance Center, Suite 1500 Attorney for Plaintiff

3550 Lenox Road, N.E.
Atlanta, GA 30326
Attornevs for Plaintiff

This 7th day of June, 2021.

CRUSER, MITCHELL, NOVITZ,
SANCHEZ, GASTON & ZIMET, LLP

 

 

JASON G. WYRICK >
Georgia Bar No. 143112

Meridian II, Suite 2000 ROBERT F. NOENS
275 Scientific Drive Georgia Bar No. 193846
Peachtree Comers, GA 30092 J. ROBB CRUSER
(404) 881-2622 Georgia Bar No. 199480
(404) 881-2630 (Fax) Attorneys for Defendants

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 62 of 77

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CLERK OF STATE COURT
HENRY COUNTY, GEORGIA

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IN THE STATE COURT OF HENRY COUNTY VAL
STATE OF GEORGIA JUN 08, 2021 05:15 PM
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LINDON WILSON, § — Aire dite
§
Plaintiff, §
§ CIVIL ACTION
vs. §
§ FILE NO.: STSV2021000749
HORTON TRANSPORTATION LLC, §
CHEROKEE INSURANCE COMPANY, §
and TYLER YOTHER, §
§
Defendants. §
§

 

DEFENDANT TYLER YOTHER’S ANSWER AND AFFIRMATIVE
DEFENSES BY SPECIAL APPEARANCE TO PLAINTIFF’S COMPLAINT

COMES NOW TYLER YOTHER, a purported Defendant (“Defendant”) in the above-
styled civil action, appearing specially and without waiving, but specifically reserving all
defenses arising from jurisdiction, service and process, and files this Answer and Affirmative
Defenses by Special Appearance to Plaintiff’s Complaint, showing the Court as follows:

FIRST DEFENSE

Plaintiff’s claims are, or may be barred, in whole or in part, for failure to state a claim
upon which relief can be granted.

SECOND DEFENSE

This Defendant breached no duty to Plaintiff; therefore, Plaintiff may not recover from
this Defendant in any sum or manner whatsoever.

THIRD DEFENSE

No act or omission of this Defendant caused or contributed to cause any damage alleged
to have been sustained by Plaintiff; therefore, Plaintiff may not recover from this Defendant in

any sum or manner whatsoever.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 63 of 77

FOURTH DEFENSE
Pending further investigation and to preserve defenses, this Defendant asserts the
affirmative defenses of contributory negligence, comparative negligence, apportionment,
assumption of the risk and avoidance of the consequences.
FIFTH DEFENSE
To the extent applicable and to preserve defenses, this Defendant asserts the affirmative
defense of improper venue.
SIXTH DEFENSE
Plaintiff's Complaint is barred due to lack of personal jurisdiction.
SEVENTH DEFENSE
Plaintiffs Complaint is barred due to insufficiency of process.
EIGHTH DEFENSE
Plaintiffs Complaint is barred due to insufficiency of service of process.
NINTH DEFENSE
Plaintiff's Complaint should be dismissed because there has been no lawful service of the
Summons and Complaint upon this Defendant. Absent personal service within the applicable
statute of limitations, Plaintiff's claims are time barred.
TENTH DEFENSE
Plaintiffs Complaint is barred due to laches.
ELEVENTH DEFENSE

Plaintiff has failed to plead special damages pursuant to O.C.G.A. § 9-11-9(g).

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 64 of 77

TWELFTH DEFENSE
Plaintiff has a duty to mitigate damages. Should discovery evidence a failure on
Plaintiffs part to do so, this Defendant reserves the right to assert failure to mitigate damages as
an affirmative defense.
THIRTEENTH DEFENSE
Plaintiff fails to state a claim for punitive damages upon which relief can be granted.
FOURTEENTH DEFENSE
There is no clear and convincing evidence that either Defendants were guilty of willful
misconduct, malice, fraud, wantonness, oppression, or that entire want of care which would raise
the presumption of conscious indifference to the consequences and, accordingly, Plaintiff is not
entitled to recover punitive damages in any sum or manner whatsoever.
FIFTEENTH DEFENSE
Plaintiffs claims for punitive damages are barred by the Constitutions of the United
States and the State of Georgia.
SIXTEENTH DEFENSE
As a Sixteenth Defense, this Defendant answers the numbered paragraphs of Plaintiff's
Complaint as follows:
PARTIES AND JURISDICTION
1.
This Defendant can neither admit nor deny the allegations contained in Paragraph 1 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 65 of 77

2.

This Defendant can neither admit nor deny the allegations contained in Paragraph 2 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

3.

This Defendant can neither admit nor deny the allegations contained in Paragraph 3 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

4.

This Defendant admits that he is a citizen and resident of the State of Tennessee. This
Defendant denies the remaining allegations contained within Paragraph 4 of Plaintiff's
Complaint.

5.

This Defendant can neither admit nor deny the allegations contained in Paragraph 5 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

6.
This Defendant denies the allegations contained within Paragraph 6 of Plaintiff's
Complaint.
BACKGROUND
7.
This Defendant admits the allegations contained within Paragraph 7 of Plaintiff's

Complaint.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 66 of 77

8.

This Defendant can neither admit nor deny the allegations contained in Paragraph 8 of
Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

9.

This Defendant can neither admit nor deny the allegations contained in Paragraph 9 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

10.

This Defendant denies the allegations contained within Paragraph 10 of Plaintiff's
Complaint.

11.

This Defendant denies the allegations contained within Paragraph 11 of Plaintiff's
Complaint.

12.

This Defendant denies the allegations contained within Paragraph 12 of Plaintiff's
Complaint.

COUNT I- NEGLIGENCE
13.

This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs 1 through 12 of Plaintiff's Complaint as if those responses were set

forth herein by reference.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 67 of 77

14.

This Defendant can neither admit nor deny the allegations contained in Paragraph 14 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

15.

This Defendant denies the allegations contained within Paragraph 15 of Plaintiff's
Complaint.

16.

This Defendant denies the allegations contained within Paragraph 16 of Plaintiff's
Complaint.

COUNT I— IMPUTED LIABILITY
17.

This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs 1 through 16 of Plaintiff's Complaint as if those responses were set
forth herein by reference.

18.

This Defendant admits the allegations contained within Paragraph 18 of Plaintiffs

Complaint.
19.
This Defendant admits the allegations contained within Paragraph 19 of Plaintiff's

Complaint.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 68 of 77

20.

This Defendant can neither admit nor deny the allegations contained in Paragraph 20 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

COUNT Ill — NEGLIGENT HIRING, TRAINING & SUPERVISION
21.

This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs 1 through 20 of Plaintiff's Complaint as if those responses were set
forth herein by reference.

22.

This Defendant denies the allegations contained within Paragraph 22 of Plaintiffs
Complaint.

23.

This Defendant denies the allegations contained within Paragraph 23 of Plaintiff's
Complaint.

24.

This Defendant denies the allegations contained within Paragraph 24 of Plaintiff's
Complaint.

25.
This Defendant denies the allegations contained within Paragraph 25 of Plaintiffs

Complaint.

{Firm/297/00082/PLEADING/03094615.DOCX } -7-
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 69 of 77

COUNT IV —- DIRECT ACTION
26.

This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs 1 through 25 of Plaintiff's Complaint as if those responses were set
forth herein by reference.

27.

This Defendant can neither admit nor deny the allegations contained in Paragraph 27 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

28.

This Defendant can neither admit nor deny the allegations contained in Paragraph 28 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

29.

This Defendant can neither admit nor deny the allegations contained in Paragraph 29 of
Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the
truth thereof and puts Plaintiff upon strict proof of the same.

30.
This Defendant denies the allegations contained within Paragraph 30 of Plaintiff's

Complaint.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 70 of 77

COUNT V—- DAMAGES
31.

This Defendant hereby reasserts and incorporates by reference the responses made
previously to Paragraphs 1 through 30 of Plaintiff's Complaint as if those responses were set
forth herein by reference.

32.

This Defendant denies the allegations contained within Paragraph 32 of Plaintiff's
Complaint.

33.

This Defendant denies the allegations contained within Paragraph 33 of Plaintiff's
Complaint.

34,

This Defendant denies the allegations contained within Paragraph 34 of Plaintiff's
Complaint.

35.

This Defendant denies the allegations contained within Paragraph 35 of Plaintiff's
Complaint.

COUNT VI- PUNITIVE DAMAGES
36.

This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs 1 through 35 of Plaintiff’s Complaint as if those responses were set

forth herein by reference.

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37.

This Defendant denies the allegations contained within Paragraph 37 of Plaintiffs

Complaint.

38.

This Defendant denies that Plaintiff is entitled to the relief requested within the

“Wherefore” paragraph of Plaintiff's Complaint.

SEVENTEENTH DEFENSE

This Defendant denies any remaining allegations contained in Plaintiff's Complaint not

previously responded to.

WHEREFORE, having fully answered, Defendant TYLER YOTHER prays that he be

discharged without costs.

A TRIAL BY JURY OF TWELVE IS DEMANDED.

This 8th day of June, 2021.

Meridian II, Suite 2000

275 Scientific Drive
Peachtree Corners, GA 30092
(404) 881-2622

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jwyrick@cmlawfirm.com

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CRUSER, MITCHELL, NOVITZ,
SANCHEZ, ASTON & ZIMET, LLP

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JASON G. WYRICK >
Georgia Bar No. 143112
ROBERT F. NOENS
Georgia Bar No. 193846

J. ROBB CRUSER

Georgia Bar No. 199480
Attorneys for Defendants

 

-10-
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 72 of 77

IN THE STATE COURT OF HENRY COUNTY

STATE OF GEORGIA
LINDON WILSON, §
§
Plaintiff, §
§ CIVIL ACTION
vs. §
§ FILE NO.: STSV2021000749
HORTON TRANSPORTATION LLC, §
CHEROKEE INSURANCE COMPANY, §
and TYLER YOTHER, §
§
Defendants. §
§

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I have this day electronically filed the within and foregoing
DEFENDANT TYLER YOTHER’S ANSWER AND AFFIRMATIVE DEFENSES BY
SPECIAL APPEARANCE TO PLAINTIFF’S COMPLAINT with the Clerk of Court using
the PeachCourt system which will send e-mail notification of such filing to the following counsel
of record:

Michael L. Goldberg, Esq. Mitchell E. McGough, Esq.
Eric J.D. Rogers, Esq. Mitchell E. McGough Law, LLC
Adam P. Smith, Esq. 945 E. Paces Ferry Rd. Suite 2250
Fried Goldberg LLC Atlanta, GA 30326

Three Alliance Center, Suite 1500 Attorney for Plaintiff

3550 Lenox Road, N.E.
Atlanta, GA 30326
Attorneys for Plaintiff

This 8th day of June, 2021.

CRUSER, MITCHELL, NOVITZ,
SANCHEZ, GASTON & ZIMET, LLP

ae

JASON G. WYRICK >
Georgia Bar No. 143112

 

Meridian II, Suite 2000 ROBERT F. NOENS
275 Scientific Drive Georgia Bar No. 193846
Peachtree Corners, GA 30092 J. ROBB CRUSER
(404) 881-2622 Georgia Bar No. 199480
(404) 881-2630 (Fax) Attorneys for Defendants

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 73 of 77

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CLERK OF STATE COURT
HENRY COUNTY, GEORGIA
STSV2021000749
IN THE STATE COURT OF HENRY COUNTY VAL
STATE OF GEORGIA JUN 08, 2021 05:15 PM
LINDON WILSON, § — Pippa bese
§
Plaintiff, §
§ CIVIL ACTION
vs. §
§ FILE NO.: STSV2021000749
HORTON TRANSPORTATION LLC, §
CHEROKEE INSURANCE COMPANY, §
and TYLER YOTHER, §
§
Defendants. §
§

 

DEFENDANTS HORTON TRANSPORTATION LLC, CHEROKEE INSURANCE
COMPANY AND PURPORTED DEFENDANT TYLER YOTHER’S
DEMAND FOR TRIAL BY A JURY OF TWELVE PERSONS
COME NOW HORTON TRANSPORTATION LLC, a Defendant in the above-styled
civil action, CHEROKEE INSURANCE COMPANY, a Defendant in the above-styled civil
action, and TYLER YOTHER, a purported Defendant (“Defendant”) in the above-styled civil
action, appearing specially and without waiving, but specifically reserving all defenses arising
from jurisdiction, service and process, and file this Demand for Trial by a Jury of Twelve
Persons pursuant to O.C.G.A. § 15-12-122(a)(2), which states as follows:
In all civil actions in the state courts in which the claim for damages is greater
than $25,000.00, either party may demand in writing prior to the commencement
of the trial term that the case be tried by a jury of 12. If such a demand is made,
the judge shall follow the procedures for superior courts of sub-section (b) of this
Code section.
See also O.C.G.A. § 15-12-123(a)(2) which reads as follows:
In all civil actions in the state courts in which a jury of 12 is demanded, the judge
shall follow the procedures for superior courts of sub-section (b) of this Code

section.

WHEREFORE, demand is made for trial of this case by a jury of 12 as provided by law.

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 74 of 77

This 8th day of June, 2021.

CRUSER, MITCHELL, NOVITZ,
SANCHEN GASTON & ZIMET, LLP

a

JASON G. WYRICK >
Georgia Bar No. 143112

 

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 75 of 77

IN THE STATE COURT OF HENRY COUNTY

STATE OF GEORGIA
LINDON WILSON, §
§
Plaintiff, §
§ CIVIL ACTION
vs. §
§ FILE NO.: STSV2021000749
HORTON TRANSPORTATION LLC, §
CHEROKEE INSURANCE COMPANY, §
and TYLER YOTHER, §
§
Defendants. §
§

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I have this day electronically filed the within and foregoing
DEFENDANTS HORTON TRANSPORTATION LLC, CHEROKEE INSURANCE
COMPANY AND PURPORTED DEFENDANT TYLER YOTHER’S DEMAND FOR
TRIAL BY A JURY OF TWELVE PERSONS with the Clerk of Court using the Odyssey
eFileGA system, which will send e-mail notification of such filing to the following counsel of

record:

Michael L. Goldberg, Esq.
Eric J.D. Rogers, Esq.
Adam P. Smith, Esq.
Fried Goldberg LLC
Three Alliance Center, Suite 1500
3550 Lenox Road, N.E.
Atlanta, GA 30326

Attorneys for Plaintiff
This 8th day of June, 2021.

Meridian II, Suite 2000

275 Scientific Drive
Peachtree Corners, GA 30092
(404) 881-2622

(404) 881-2630 (Fax)

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Mitchell E. McGough, Esq.
Mitchell E. McGough Law, LLC
945 E. Paces Ferry Rd. Suite 2250
Atlanta, GA 30326

Attorney for Plaintiff

CRUSER, MITCHELL, NOVITZ,
SANCHEZ, in & ZIMET, LLP

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JASON G. WYRICK >
Georgia Bar No. 143112
ROBERT F. NOENS
Georgia Bar No. 193846

J. ROBB CRUSER

Georgia Bar No. 199480
Attorneys for Defendants

 
Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 76 of 77

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CLERK OF STATE COURT

HENRY COUNTY, GEORGIA
STSV2021000749
IN THE STATE COURT OF HENRY COUNTY VAL
STATE OF GEORGIA JUN 09, 2021 10:55 AM
LINDON WILSON, : ~ & Lynne M. Mh ete orate seu
Plaintiff, §
§ CIVIL ACTION
vs. §
§ FILE NO.: STSV2021000749
HORTON TRANSPORTATION LLC, §
CHEROKEE INSURANCE COMPANY, §
and TYLER YOTHER, §
§
Defendants. §
§

 

RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

I hereby certify that I have this day served all counsel of record in this action with a copy

of the following:

1, DEFENDANT HORTON TRANSPORTATION LLC’S RESPONSES AND
OBJECTIONS TO PLAINTIFF’S FIRST REQUESTS FOR ADMISSION TO
DEFENDANTS;

2. DEFENDANT CHEROKEE INSURANCE COMPANY’S RESPONSES AND
OBJECTIONS TO PLAINTIFF’S FIRST REQUESTS FOR ADMISSION TO
DEFENDANTS; and

3, PURPORTED DEFENDANT TYLER YOTHER’S RESPONSES AND
OBJECTIONS TO PLAINTIFF’S FIRST REQUESTS FOR ADMISSION TO
DEFENDANTS

by depositing a true and correct copy of the foregoing in the U.S. Mail, proper postage prepaid,

to:

Michael L. Goldberg, Esq. Mitchell E. McGough, Esq.
Eric J.D. Rogers, Esq. Mitchell E. McGough Law, LLC
Adam P. Smith, Esq. 945 E. Paces Ferry Rd. Suite 2250
Fried Goldberg LLC Atlanta, GA 30326
Three Alliance Center, Suite 1500 Attorney for Plaintiff

3550 Lenox Road, N.E.
Atlanta, GA 30326
Attorneys for Plaintiff

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Case 1:21-cv-02379-JPB Document 1-1 Filed 06/09/21 Page 77 of 77

| FURTHER CERTIFY that in accordance with O.C.G.A. § 9-11-29.1(a), Filing of

Discovery Materials, the undersigned is responsible for service of the above document and

acknowledges that he/she is in possession of the original of the foregoing and the custodian

thereof, the same to be held in accordance with the foregoing statute.

This 9 day of June, 2021.

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Peachtree Corners, GA 30092
(404) 881-2622

(404) 881-2630 (Fax)

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{Firm/297/00082/DISC/03095704.DOCX }

CRUSER, MITCHELL, NOVITZ,
SANCHEZ, GASTON & ZIMET, LLP

 

 

JASON G. WYRICK >
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ROBERT F. NOENS
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J. ROBB CRUSER

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Attorneys for Defendants
